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     5th Dewey Decl.
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1          KAY BURLEY: Half the world's going to the polls this year,

        including the United

2          States, of course, Joe Biden in his early '80s, Donald Trump in his

        late '70s.

3          Are they the two best candidates?

4          JANE HARTLEY: One of them is the best candidate.

5          [laughs] Yes, I do believe that.

6          I think for President Biden, and once again, I'm a friend, I'm a

        fan.

7          I've known the president for many, many, many years.

8          All you have to do is look at his record and see where he has

        brought our country.

9          We have to remember, he became president right after COVID.

10         Just like every other country in the world, our unemployment was

        skyrocketing.

11         Small businesses were closing.

12         Boarded-up stores.

13         You'd walk anywhere in New York, there wouldn't be cars on the

        street.

14         I'm a New Yorker.

15         KAY BURLEY: I would never have guessed.

16         JANE HARTLEY: [laughs] I'm very proud to be a New Yorker.

17         KAY BURLEY: Of course.

18         JANE HARTLEY: Look what he's done now.

19         Look at our unemployment rate.

20         Look at wage growth.

21         In wage growth, especially in the lower percentile.

22         Usually, it's the hardest to get wage growth.

23         He has done that.

24         KAY BURLEY: Do we need to worry about his cognitive ability?

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1          JANE HARTLEY: No.

2          He's been here five times, four since I've been here.

3          I've spent much time with him.

4          He has not only ability, but he has a sense of history.

5          I've been in meetings with him, with his staff, with the White

        House staff, that's

6          fantastic, by the way, but it's the president who's saying, "No, I

        know that leader.

7          I know what he cares about.

8          I know what might work.

9          I know what our strategy should be."

10         I think Jill Biden said this the other day, don't ever discount.

11         You know what?

12         Age can also bring you positives.

13         It can bring you judgment and it can bring you knowledge of people.

14         Biden, the president, knows every world leader.

15         KAY BURLEY: As a proud American, do you, at any stage, worry that

        the Oval

16         Office may, to all intents and purposes, have to be turned into a

        prison cell if

17         President Trump finds himself in a position where he's at the wrong

        side of the law?

18         JANE HARTLEY: Listen, I can't go there.

19         It is a hypothetical.

20         I do have confidence in my country, and I do have confidence in the

        American

21         people.

22         I think they'll make the right decision.

23         KAY BURLEY: Was President Trump right to threaten NATO?

24         JANE HARTLEY: As we've seen, NATO has brought peace to this world for the last


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1          75 years.

2          President Biden has made it clear his first trip to Europe was to

        NATO and how

3          important this alliance is to us.

4          By the way, the alliance is just growing stronger.

5          We see with the addition of Sweden and Finland and even the

        increase in funding

6          from many countries.

7          I think that we'll have probably two-thirds of countries paying

        more than 2% of GDP

8          very soon.

9          Everybody knows how important it is.

10         On that one, I would say no, he wasn't right.

11         [laughs]

12         KAY BURLEY: Do you think the world would be a safer place or less

        safe place with

13         President Trump in charge?

14         JANE HARTLEY: Well, listen, I don't- it's once again a

        hypothetical, and-

15         KAY BURLEY: It is.

16         JANE HARTLEY: -I don't like commenting on that, but if you look at

        what President

17         Biden has done, in contrast to what President Trump may do, and I

        don't know what

18         he's going to do, I don't know him, but support for Ukraine.

19         The US has given $75 billion to Ukraine.

20         Jake Sullivan was just there yesterday.

21         Our commitment is strong and it's personal.

22         President Biden cares about this.

23         NATO, you just asked, another example.

24         Our support for NATO and how important we think international cooperation,


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1          supporting democracy, supporting freedom.

2          I don't know what the Trump administration will do, but I know

        that's what President

3          Biden stands for.

4          KAY BURLEY: There is a sense just now among military analysts that

        I speak to on

5          my program, almost daily, are saying the situation that we are

        finding ourselves in is

6          almost comparable to the febrile atmosphere that we saw in the

        1930s.

7          Do you, in any way, feel that tension and anxiety as well on behalf

        not only of the

8          British people but also of people in the United States as well?

9          JANE HARTLEY: Well, listen, these are difficult days.

10         I think it'd be naive not to say they're difficult days.

11         We see a war in Ukraine.

12         Ukraine, a strong democracy with brave people that was invaded by

        Russia in a

13         brutal attack that's ongoing.

14         Obviously, that is horrific, and we want to do everything we can to

        make sure

15         Ukraine is still a strong democracy and that Russia loses this war.

16         It's not easy, obviously.

17         We've seen what's happened.

18         It's horrifying.

19         What's happening in the Middle East in Gaza is also horrifying.

20         It was, in my view, a terrorist attack.

21         Israel does have the right to defend itself, but humanitarian aid

        has to get in.

22         That's one reason we are building a pier.

23         Our boats are on our way there now.

24         Civilians need to be protected.

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1          We should have, as we proposed in the UN resolution, an immediate

        ceasefire tied

2          to hostage release.

3          KAY BURLEY: What more, if anything, can the US do?

4          JANE HARTLEY: We believe Israel has a right to defend itself.

5          They were attacked, it was a terrorist attack,

6          but we believe how they do it is critically important.

7          That's why you see Tony Blinken in the region as much as he is.

8          It's not just Tony Blinken, it's Tony Blinken, it's our head of

        CIA, it's Bill Burns.

9          It's so many other of our diplomats because what we want in the end

        is a situation

10         where Israel feels safe, where there is security, and where we can

        get to a two-state

11         solution where Palestine has economic growth, economic prosperity,

        hope for its

12         young people.

13         We have not done that well, frankly, but--

14         KAY BURLEY: Do you still think that Israel is acting within

        international law?

15         JANE HARTLEY: I don't know enough about that.

16         KAY BURLEY: When you see the situation in Gaza and you see kids

        eating grass

17         soup in order to try to survive, what impact does that have on you

        as a mother?

18         JANE HARTLEY: Well, it has a huge impact on me.

19         It's horrific, actually.

20         No children should ever have to go through it.

21         That is why we have been pressing.

22         We've been very clear, including what we're doing at the UN right

        now, which is

23         ceasefire immediately, release the hostages.

24         Humanitarian aid has to get in, which is-- I don't know any other place in the world


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1          we've ever build a pier.

2          That is not something that usually we advocate or do as quickly as

        we're doing.

3          I think it shows how important we think the aid to civilians,

        especially children, and

4          all innocent civilians that need to eat.

5          KAY BURLEY: The $60 billion that's being held up by House

        Republicans for aid

6          for Ukraine in all forms, how confident are you that it will get

        there?

7          JANE HARTLEY: I'm optimistic as opposed to confident.

8          I don't have any information that would make me confident, but I do

        believe that in

9          the Republican caucus, even though perhaps not everybody in the

        Republican

10         caucus, there's a huge amount of support for Ukraine, and a lot of

        the committee

11         people want this aid to get through.

12         I think, in my view, it has to happen.

13         I feel very strongly.

14         I haven't dealt with Capitol Hill in quite a long time.

15         I used to deal with it often.

16         This is a responsibility for the United States of America.

17         We owe this to Ukraine.

18         Ukraine is bravely fighting and winning actually, and winning.

19         By the way, anybody who thinks that Russia may stop after this I

        think is wrong.

20         I was ambassador in 2014 and I saw what happened in Crimea.

21         I don't know why anybody would say, "Oh, this is it for Russia."

22         Democracy, I think, is at stake.

23         We need to support Ukraine.

24         KAY BURLEY: President Putin has said that he was hugely victorious in his


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1          election.

2          Marina Litvinenko, who, I'm sure, you will know, said, "You can't

        call it an election.

3          It was an event."

4          What would you call it?

5          JANE HARTLEY: Well, I don't know enough about it, but looking at

        other Russian

6          elections, I would say she might be right.

7          KAY BURLEY: Talk to me about the royal family.

8          News of Kate's edited photo made the White House news conference,

        which was--

9          JANE HARTLEY: I didn't know that.

10         It did?

11         KAY BURLEY: Yes, it did actually.

12         JANE HARTLEY: Well listen, I want her to know that we are thinking

        about her, that

13         we care deeply about her.

14         We want her to feel better as soon as she can.

15         I think just being an American, Americans love the royal family.

16         KAY BURLEY: Apparently, President Trump says that he thinks that he

        might deport

17         Harry if he becomes president.

18         JANE HARTLEY: Um, what can I say?

19         I didn't hear that.

20         KAY BURLEY: It's not going to happen, though, is it?

21         JANE HARTLEY: Well, it's not going to happen in the Biden

        administration.

22         KAY BURLEY: There we are.

23         There we are.

24         I've got some quickfire questions to end with.

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1          Is that okay?

2          JANE HARTLEY: Yes.

3          KAY BURLEY: Beach Boys or The Beatles?

4          JANE HARTLEY: [laughs] Beatles.

5          KAY BURLEY: Tea or coffee?

6          JANE HARTLEY: Both.

7          I have a cup of coffee in the morning because I need to get up, and

        then I have

8          English breakfast tea the rest of the day.

9          I don't put it in the microwave.

10         KAY BURLEY: I'm glad to hear that.

11         Obama or Clinton?

12         JANE HARTLEY: Oh, that's too hard.

13         KAY BURLEY: Churchill or Roosevelt?

14         JANE HARTLEY: Both were amazing.

15         I'm an American, so I'd have to say Roosevelt, but I have a huge

        portrait.

16         It should tell you how I feel about Churchill.

17         I have a huge portrait of Churchill behind my desk in my office.

18         KAY BURLEY: London or New York?

19         JANE HARTLEY: Both.

20         That is a good question because I consider myself a true blue New

        Yorker.

21         KAY BURLEY: Cotswolds or the Hamptons?

22         JANE HARTLEY: Cotswolds.

23         KAY BURLEY: Great.

24         Finally, Dynasty or Dallas?

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1       JANE HARTLEY: I didn't hear.

2       KAY BURLEY: Dynasty or Dallas?

3       JANE HARTLEY: [laughs] Dynasty.

4       KAY BURLEY: There we go.

5       That's why you didn't because you said you're different to me.

6       Madam Ambassador, it's a pleasure.

7       JANE HARTLEY: It's a pleasure.

8       KAY BURLEY: Thank you very much indeed.

9       JANE HARTLEY: Thank you, thank you.

10      KAY BURLEY: Thank you.

11      Thanks very much.

12      JANE HARTLEY: Great seeing you as always.

13      KAY BURLEY: Me too.

14      Me too.

15      [END OF AUDIO]

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1                   CERTIFICATION

2

3           This is to CERTIFY that the attached English transcription is,

4       to the best of our transcriber's ability to understand the audio,

5       a true, accurate and faithful transcription of the audio/video

6       that was submitted.

7

8       JR Language Translation Services, Inc.

9       Date: April 10, 2024

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               Rules of Supreme Court of Virginia

                Part Four - Pretrial Procedures

              Depositions and Production at Trial

                                Rule 4.5



   (e) Submission to Witness; Changes; Signing.

   When the testimony is fully transcribed, the

   deposition shall be submitted to the witness for

   examination and shall be read to or by him, unless

   such examination and reading are waived by the

   witness and by the parties. Any changes in form or

   substance which the witness desires to make shall

   be entered upon the deposition by the officer with

   a statement of the reasons given by the witness for

   making them. The deposition shall then be signed by

   the witness, unless the parties by stipulation

   waive the signing or the witness is ill or cannot

   be found or refuses to sign. If the deposition is

   not signed by the witness within 21 days of its

   submission to him, the officer shall sign it and

   state on the record the fact of the waiver or of

   the illness or absence of the witness or the fact

   of the refusal to sign together with the reason, if

   any, given therefor; and the deposition may then be

   used as fully as though signed unless on a motion
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   to suppress under Rule 4:7(d)(4) the court holds

   that the reasons given for the refusal to sign

   require rejection of the deposition in whole or in

   part.




   DISCLAIMER:     THE FOREGOING CIVIL PROCEDURE RULES

   ARE PROVIDED FOR INFORMATIONAL PURPOSES ONLY.

   THE ABOVE RULES ARE CURRENT AS OF APRIL 1,

   2019.    PLEASE REFER TO THE APPLICABLE STATE RULES

   OF CIVIL PROCEDURE FOR UP-TO-DATE INFORMATION.
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     COMPANY CERTIFICATE AND DISCLOSURE STATEMENT



Veritext Legal Solutions represents that the

foregoing transcript is a true, correct and complete

transcript of the colloquies, questions and answers

as submitted by the court reporter. Veritext Legal

Solutions further represents that the attached

exhibits, if any, are true, correct and complete

documents as submitted by the court reporter and/or

attorneys in relation to this deposition and that

the documents were processed in accordance with

our litigation support and production standards.



Veritext Legal Solutions is committed to maintaining

the confidentiality of client and witness information,

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Act (HIPAA), as amended with respect to protected

health information and the Gramm-Leach-Bliley Act, as

amended, with respect to Personally Identifiable

Information (PII). Physical transcripts and exhibits

are managed under strict facility and personnel access
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controls. Electronic files of documents are stored

in encrypted form and are transmitted in an encrypted

fashion to authenticated parties who are permitted to

access the material. Our data is hosted in a Tier 4

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